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 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
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12     PERLA MAGENO, an individual,          Case No. 8:20-cv-01101-DOC-KES
13
       Plaintiff,                            ORDER GRANTING
14
                                             STIPULATION TO SET ASIDE
15     v.                                    DEFAULT [19]
16     KAREEMS FALAFEL, INC., a
17     California corporation; and DOES 1-
       10, inclusive
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19                    Defendant.
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     Case 8:20-cv-01101-DOC-KES Document 20 Filed 09/11/20 Page 2 of 2 Page ID #:66


 1                                         ORDER
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 3                After consideration of the Joint Stipulation to set aside Default, GOOD
 4    CAUSE APPEARING, the default entered against defendant KAREEMS
 5    FALAFEL, INC. is set aside. Defendant has ten (10) days to file and serve its
 6    responsive pleading. The Order to Show Cause set for September 14,2020 is
 7    vacated by the Court.
 8
            IT IS SO ORDERED.
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      DATED: September 11, 2020
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12                                   UNITED STATES DISTRICT JUDGE
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